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Continue on back, if necessary . Your failure tc be speci fic may result in no action being
taken . If necessary , you w ill be interviewed in order tc successfully respond to ycur
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    DISPOSITION :




             Signature Staff Member                         Date


Record Copy - File ; Copy - Inmate
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                                                                This form rep laces 8P-148 .070 dated         86
                                                                and BP-Sl48.O70 A PR 94


êotE IN sEcTloN 6 UNLESS APPROPRIATE FORQYTVACWTOLDER                                        SE C T IO N       6
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 12 of 26



                                INMATE ANDRE MIMS (40565-054)
                                  REQUEST F0R A RIS MOTION


    A. INITIATION 0F REQUEST


           request that the B0P file a motion for a reduction in sentence (RIS)
    based on ''other reasons'' criteria of the United States Sentencing Guidelines,

     Section IB          comment. (N.1)(D). The policy statement for compassionate
    release, which permits a reduction when there exists in a defendants' case as

    extraordinary and compelling reasons other than or in combination with, nthe

    remainder of the Guideline definition.'' See U.S.S.G 51B1.13, N.1



    B. EXTRAORDINARY AND COMPELLING CIRCUMSTANCES



               believe   the   following    presents   particularly   extraordinary   and

    compelling reasons so as to qualify me for the requested RIS motion . In this

    case, because of the severe stacking rules in place at the time of my crime,

    my sentence of 410 Months              Years) is twenty-five years longer than the
    sentence I would likely have received of 110 Months (9.2 Years) kf I were
    sentenced under the current 1aw (18 P.S.C. 5924(c)(1)(c)) as it now exists.
    That is because the now-amended 5924 provision contains punlshments that the

    First Step Act,            115-391,      Stat. 5194, at 5403(a) (Dec.         2018),
    declared       be too punitive and unfair. An extraordinary and compelling

    reason for the BOP to submit a motion for RIS.
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     C. QTHER EXTRAORDINARY AND COMPELLING F0R THE B0P T0 FILE F0R RIS IN MIMS
     BEHALF

     MIMS REMARKABLE RECORD OF         REHABILITATION ADDS T0 THE DETERMINATION HE
     PRESENTS EXTRAORDINARY AND        COMPELLING REASON 5994(t); U.S.S.G. j1B1.13
     comment (N.3)

          While most young men would be crushed under the weight of serving a 410

     Month sentence, I was different. Instead of actfng out or approaching prison

              ''khat's the point?'' attitude, I started my time in the B0P taking

     great    strides       change the narrative        who       was, by   compiling an

     extraordinary record of rehabilitation .



          At the time of this writing I have served approximately 66.45 of my time

     (270 Months) and have put together a sterling prison record being incident
     free. Since my arrival at Danbury F.C.I.          have been an involved positive

     community member, and a positive peer in my participation as a mentee and

     then subsequently hired as a mentor in the SKILLS Program for the last 5 .5

    Years.      have been the longest tenured member of the community . The SKILLS

    Program is designed to improve the institutional adjustments of inmates who
    have intellectual and social deficiencies. As an important fixture and direct

    mentor to approximately 115 program participants, the program has realized a

    mentee graduation rate of approximately 775.



         As a community leader        have consistently received staff recognition by

    maintaining and promoting program principles (see attached letters
    accreditation from various departments), and have been a trusted and valuable
    member of           education   department.     have had direct involvement that

    consisted     of    extensive   educational   achievements.      have   accompllshed

    approximately 22,530 program hours that included several apprenticeshfps;
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 14 of 26



    Department of Labor - Baker 's Apprenticeship                      Danbury , CT

    Department of Labor - Administrative Assistant Apprentfceship         Miami, FL

    Department of Labor - Business Management & Law Apprenticeship        Miami, FL

    Department of Labor - Business Math Apprenticeship                    M iami, FL

    Department of Labor - Customer Assistant Technology Apprenticekhip Miami,

    VT Culinary Arts Program                                           Danbury , CT

    Servsafe Certification                                            Danbury , CT

    and over 50 ACE Classes. (See Indfvidual Reentry Plan-program Review)


         Lastly,     have been an inspired teacher . Sfnce      learned       speak

    American Sign Language in 2002, I have interpreted, taught, and tutored over

    100 inmates, and have assisted several prison facilities by interpreting for

    the hearing impaired . These factors in combination with the fundamental

    changes to the sentencing policy in the First Step Act's eliminatlon of the

    stacking provisions of 59244c) establishes extraordinary and compelling
    reasons justifying a request for a RIS motlon.


    D . REFLECTION 0F THE SERIOUSNESS 0F THE OFFENSE



         Finally, after considering the factors set out in 18 U.S.C. 53553(a)
    and in light of the changed circumstances explained above , a sentence of time

    served, representing 22l years in prison reflects the seriousness           the
    offense, promotes respect for the 1aw and provides just punishment, 18 P.S.C.
    j3553(a)(2)(A). I believe I meet the criteria set forth in the statues and
    the U.S.S.G . and do not represent     danger to any person or community if

    released. (See e.g. U.S. Sentencing Copmission, Measuring Recidivism, 2004)
    (Recidivism rates decline relatively consistently as age progresses, reaching
    a 1ow percentage of 6.25 for defendants whose age exceeds 50 by the tfme

    theybre released.)
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         I am 56 and have the love and support of my family and frlends. I have

    choice of residences     can reside             have gainful employment, and

    will also volunteer my time to speak in dlfferent venues to kids and troubled

    youths about their life choices.



         The     sentence I have served and continue to serve is an adequate

    deterrence to protect the public from further crimes whlch , given my age and

    rehabilitation, will not occur. 18 U.S.C. 53553(a)(2)(B),(C).


    CONCLUSION



         For good cause having been shown ,    humbly ask that my request for a

    reduction in sentence be granted.




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Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 16 of 26




                  Response to Inm ate R eque st to S ta ff M emb er


     M IM S , Andre
     Register Number:    40565-054
     Unit : 1-A

     This       in response to your Inmate Request to Staff received
     January 7, 2020, in which you are requesting to be considered for
     early release pursuant to Program Statement 5050.50, Compassionate
     Release/Reduction in Sentence, Procedures for Implementation of 18
     U .S .C . 3582 (c)(1) (A) & d2Ob (g). Specifically, you request
     consideration as per Compassionate Release/Reduction in Sentence :
     Procedures for Implementation of 18 U.S.C . 55 3582 (c)(1) (A ) and
     4205 (g), Extraordinary or Compeliing Circumstances.
           request has been reviewed, and the findings                follows:

        @ In review of your request under extraord inary or compelling
          cïrcumstances your request for coDpasslonate release is denied .
          The Bureau of Prisons Compassionate Release Proqram is not the
           correct forum to address judlcial determinations or
           proceedings. You should seek advice from your attorney to
           determine if you may appeal through the appropriate sentencing
           court on these m atters .




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Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 17 of 26

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                                               January 3l, 2006



      MEMORANDQM F0R FDC MIAMI
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                      Valarie A. Kepne , Superv sor of Educat 1on
      SDBJECT :       M IMS, ANDRE
                      REGISTER NUMBER 4,
                                       0565-D54

      This memo is to inform you that, while i:carcerated at FCI
      Edgefield, inmate Mims worked as a tutor for the Special Learning
      Needs classes. Specifically, since he is fluent in Sign
      Language, he waa assigned to assist an inmate who was deaf and
      mute. He wozked with this inmate daily in classes and ensured
      that all directions 4nd assignments were understood and
      completed. He also assisted this inmate in the housing unit and
      at Mainline in communicating wlth staff.
      Inmate Mims' diligence as a tutoz ensured that the deaf inmate
      made favorable progress in class and wasiable to function in his
      daily life within the institution.




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Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 18 of 26




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                                                            FCI Danbury
                                                            33 % Pembroke Road, Route 37
                                                            Danbury. CT 06811-3099


                                                                                            April30,2019


      To W hom ItM ay Concern:


      lhave hadtheprivilegeofsupervisingInmateM ims(40565-054)sincethe developmentofthe Inmate
      Companion Program atFCIDanbury, ln hisrole asa com panion he workswith a deafinmate helping
      him adjustto jncarcerationatFCIDanburyzprovidingsupportduringhismedicalappointmentsto
      com m unicatew ith staffandw orkswithhiscom panionto obtain hisGED.M im shasproven to be
      trustw orthy and com passionate towardsthose involved w ith the com panion program . He hastaught
      othersw ithin the unitsign language in orderto bettercom m unicate with hiscom panion and has
      encouraged a supporti ve environm ent.M im s hasproven to be a greatcom m unicator,trustworthy and
      a strong assetto the com panion program .
      lfIcan provide an4 additionalinform ation,please contactrne directly.




      Thank you,


       Rose Adam son,SocialW orker,LCSW
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 19 of 26

                             *                                      *
     To w hom thism ay concern



     Thisletlerisin recor ition oftheefforts,dedication,and contributionsthatM r. M imshasgiven

     tomydepartment.He isaman ofhigh personalcharacter,asdemonstrattd by hiswillingnessto

     dowhateverisnecessarytogetthejobdone.M r.M ims'cooperationwithstaffandotherinmates
     reflectshisfriendliness,courtesy,hardwork,leadership,and initiative.Hefollowsdirections

     welland isa self-starter,whodoesnotneed to betoldwhatneedsto bedone.He inspiresother

     inmatestofollow hislead.M r.M imshasperformeda greatserviceto thisdepartment, as a

     workerandasavolunteer.




                                                                                          #


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Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 20 of 26

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                                             Danbury, Connecticut 06811



                                             November 27, 2019

        MEMORANDUM FOR ALL CONCERNED

        FROM :    M . John-pierre, Supervisor of Ed catlo

        SUBJECT: Mims, Andre Reg. No . 40565-054

       Throughout his incarceration , Mr. Mims has maintained steady employment
       to include being a tutor, a codk, and a care taker for disabled inmates  ,
       as a companion . He interacts with the inmate population and Education
       staff où a professional level.
       Mr. Mims has been active in inmate programming and has completed over
       fifty Adult Continuing Education courses. In addition , he completed
       several courses to help become a better person, such as Parenting r the
       Baker Apprenticeship program and Business Administration through the
       Department of Labor. He is also Servsafe certified . Mims has been a Skills
       Program Mentor since 2015 and employed the Education Department since
       January 2019 as a Sign Language Interpreter for a deaf student . Mr. Mima
       continues to make positive changes and is an example of how one can
       rehabilitate themaelves while incarcerated .
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 21 of 26


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          .                                                     Nam e: M IM S,ANDRE                                 Security Level: LOW
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                                                              sterNo.: 40565-054                                    Proj.ReIDate: 04-01-2027
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                                                              Quarters: IO1-001L                               Release M ethod: G CT REL
                                                                 Age: 56                                  DNA Status: MIAO3145 /05-26-2011
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 lnmate Mims arrived atFClDanbury on 06-17-2014.Athis initiaireview he was encouraged to padicipate in anyapprenticeship program and
 maintainclearconduct.Inmate Mi
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 InmateMimshasconsistentlyearnedaverageand aboveaverageworkevaluationsduring hisperiodofincarceration.Hehasgainedemployable
 workskillsthroughhisemploymentthroughthe SkillsMentorProgram andEducation.He hasbeguntocompilearesumeandheintendstoseek
 employmentupon hisrelease from incarceration where he can utilize these skills.Inmate Mimsiscurrently a Education tutor.To date,he has obtained
 good monthly evaluatîons.



 CurrentEducption lnformatlon                                                                                                                                      ,
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                                   gnment Description                                                       Stad
 DAN                            ESLHAS                     ENGLISH PROFICIENT                               05-05-1999
 DAN                            GFD HAS                    COM PLETED GED OR HS DIPLOMA                     03-17-2003
 Education Colirses                                                       .                                                                                    '
 SubFacl Action                                            Description                                      Stad                  Stop
 DAN                             C                         PARENTING-BUILD BEU ER FUTURES                   10-25-2018            02-27-2019
 DAN                             C                         FCI-REALBABY PROGRAM                             10-18-2018            10-25-2018
 DAN                             C                         PEER SPECIALIST                                  08-30-2017            02-09-2018
 DAN                             C                         ACE-STOCK MARKET                                 06-05-2017            07-24-2017
 DAN                             C                         INTRO TO REALESTATE                              04-03-2017            05-25-2017
 DAN                             C                         INTRO TO IMPORTING & EXPORTING                   04-03-2017            05-25-2017
 DAN                             P                         BAKER APPRENTICESHIP PROGRAM                     09-21-2015            04-18-2017
 DAN                             C                         FINANCIAL PLANNING                               05-18-2016            07-13-2016
 DAN                             C                         SMALL BUSINESS I                                 05-24-2016            07-21-2016
 Sentry Data as of12-21-2019                                                  Sum mary Reentry Plan -Progress Report                                  Page 1 of 5

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Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 22 of 26


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            on             Description                               Stad                               Stop
 DAN             C         BUSINESSACCOUNTING f                                04-05-2016               05-31-2016
 DAN             C         ACE SMALLBUSINESS 2                                 01-19-2016               03-15-2016
 DAN             C         ACE SMALL BUSINESS 1                                09-17-2015               11-17-2015
 DAN             C         CUL.DIN.ROOM ETIQUETTE                              06-16-2015               07-18-2015
 DAN             C         VT CULINARY ARTSPROGRAM                             03-18-2015               07-18-2015
 DAN             C         BAKESHOPPROD/PRIN/INGREDIENT                        06-03-2015               06-16-2015
 DAN             W         ADMIN.ASST.APPRENTICESHIP                           03-06-2015               06-16-2015
 DAN             C         RECIPES-INTERNATIONALCUISINES                       05-29-2015               06-03-2015
 DAN             C         FOOD PRESENTATIONAND GARNISH                        05-27-2015               05-29-2015
 DAN             C         FOOD PREPARATION                                    05-22-2015               05-27-2015
 DAN             C         UNDERSTAND COOKING                                  05-14-2015               05-22-2015
 DAN                       ADVANCED SPANISH-FCI                                04-16-2015               06-02-2015
 DAN                       UNDERSTAND COOKING                                  04-17-2015               05-14-2015
 DAN                       COOKTOOLSAND EQUIPMENT                              04-10-2015               04-17-2015
 DXN                       SANITATION/SAFETY/REC.& STORE                       04-06-2015               04-10-2015
 DAN                       CULINARY INTRO TO FOOD SERVICE                      03-18-2015               04-06-2015
 DAN                       INTERMEDIATE SPANISH-FCI                            01-13-2015               03-18-2015
 DAN                       ACE SMALL BUSiNESS 2                                 10-16-2014              12-08-2014
 M(A                       PROFESSCONALSALES & PROMOTION                       09-04-2013                11-27-2013
 MlA                       MONEY SMART COURSE                                  09-10-2013               11-26-2013
 MlA                       W ORLD OF BUSINESS                                  09-09-2013                12-09-2013
 MlA                       INTERNATIONAL BUSINESS                               10-09-2012              12-18-2012
 MIA                       BUSINESS MANAGEMENT &LAW                            01-07-2008                11-10-2009
 MlA                       COM PUTER APPLICATIONS 1                             01-15-2010              06-10-2010
 MIA                       CO NTEMPORARY ECNOMICS M/W 6-                       04-22-2010               07-22-2010
 MIA                       ACCOUNTING 12-2PM                                    02-01-2010              07-20-2010
 MIA                       RPP 6 PSYCHOLOGY GRP                                 06-01-2010              06-01-2010
 MIA                       AIDSAW ARENESS                                       02-16-2010              02-17-2010
 MlA                       BUSINESS LAW                                         09-01-2009               11-10-2009
 MIA                       BUSINESS COM MUNICATION                              01-12-2009              05-04-2009
 M IA                      BUSINESS MANAGEMENT                                  06-08-2009               08-26-2009
 MIA                       COMPUTER APPLICATIONS 1                              09-22-2008              06-04-2009
 M1A                       CUSTOMER ASSTTECHNOLOGY                              01-07-2008              05-21-2009
 MlA                        BUSINESS KEYBOARDING                                11-30-2007               09-22-2008
 M IA                      CAREER ASSESSMENT                                    12-22-2008               12-22-2008
 MIA                        BUSINESS MATH                                       07-29-2008               12-18-2008
 M(A                       SPANISH 2 THURS 6 -PM                                11-05-2008               01-29-2009
 M1A                       CAREER TRAINING ORIENTATION                          03-18-2008               03-18-2008
 MIA                        OFFICE PROCEDURES&                                  01-07-2008               05-06-2008
 MIA                       SMALLBUS MARKETING THUR 6-8PM                        11-15-2007               02-07-2008
 EDG                        REC-CALISTHENICS-IPM -2PM                           05-08-2007               08-15-2007
 EDG             C          SOCIALSERVICES FAIR-PARENT                          11-30-2005               11-30-2005
 EDG             C         VICTIM AW ARE/IMPACT-MAHOMES                         08-23-2005               10-26-2005
 EiG             C          BEGINNING PARENTING                                 02-09-2005              03-30-2005
 EDG             C          BUSINESS OF INSURANCEACE                            06-02-2003              08-25-2003
 EDG MED         C          BEGINNING AEROBICS                                  03-01-2003              05-08-2003
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  lnmateMimshascompletedaU.S.DepartmentofLaborapprenti
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                                                                                      naryArtsWorkeq450Hrs).Thisis
  consistent
  withpastparticipationinsuchprogramsasSkillsPeerSpecialist,AdministrationAssistant,BusinessMGT & Law,ComputerApplications,Com puter
  Applications2,CustomerASST Technology,BusinessKeyboarding,& ParentingBuild BetterFutures.


 Dlsclpline Reports
 Hearing Date               Prohibi
                                  ted Acts
 03-21-2002                 3O5 :POSSESSING UNAUTHORIZED ITEM

 Sentry Data as of12-21-2019                     Summ ary Reentry Plan -Progress Repod                                   Page 2 of 5
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 23 of 26


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 M IA          C            BUSINESS LAW                                      09-01-2009                  11-10-2009
 MlA           C            BUSINESS COM MUNICATION                           01-12-2009                  05-04-2009
 MlA           C            BUSINESS MANAGEM ENT                              06-08-2009                  08-26-2009
 M IA          C            COMPUTER APPLICATIONS 1                           09-22-2008                  06-04-2009
 M lA          C            CUSTOMER ASSTTECHNOLOGY                           01-07-2008                  05-21-2009
 M IA          C            BUSINESS KEYBOARDING                              11-30-2007                  09-22-2008
 MIA           C            CAREER ASSESSMENT                                 12-22-2008                  12-22-2008
 MlA           C            BUSINESS MATH                                     07-29-2008                  12-18-2008
 MlA           C            SPANISH 2THURS 6-PM                               11-05-2008                  01-29-2009
 M 1A          C            CAREER TRAINING ORIENTATION                       03-18-2008                  03-18-2008
 MIA           C            OFFICE PROCEDURES &                               01-07-2008                  05-06-2008
 MIA           C            SMALL BUS MARKETING THUR 6-8PM                    11-15-2007                  02-07-2008
 EDG           C            REC-CALISTHENICS-IPM -2PM                         05-08-2007                  08-15-2007
 EDG           C            SOCIAL SERVICES FAIR-PARENT                       11-30-2005                  11-30-2005
 EDG           C            VICTIM AW ARE/IMPACT-MAHOMES                      08-23-2005                  10-26-2005
 EDG           C            BEGINNING PARENTING                               02-09-2005                  03-30-2005
 EDG           C            BUSINESS OF INSURANCE ACE                         06-02-2003                  08-25-2003
 EDG MED       C            BEGINNING AEROBICS                                03-01-2003                  05-08-2003
 DisciplineHistor/tt-àst6iiiôtlthà)                                                                       (. ).        ,      .
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 Hearing Date               Prohibited Acts
 **NO INCIDENT REPORTS FOUND IN M ST 6 MONTHS **
 currentcàreAssigntnvnté ..,                   .. .                                   .             '            .r
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 Assignment                  Description                                      Start
 CAREI-MH                   CAREI-M ENTAL HEALTH                              12-01-2015
 CAREZ                      STABLE,CHRONIC CARE                               12-20-2006
 currentMedicalrnpty statulAà4igpniétlts  ,                                                                                .
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 Assignm ent                Description                                       Start
 HGT RESTR                  NO LADDERS/NO UPPER BUNK                          06-25-2014
 PAPER                      LEGACY PAPER MEDICALRECORD                        11-30-2018
 REG DUTY W                 REGULAR DUTY W/MED RES'IRICTION                   06-25-2014
 W GT 20 LB                 W EIGHT-NO LIFTING OVER 20 LBS                    07-29-2015
 YES F/S                    CLEARED FOR FOOD SERVICE                          07-29-2015
 CurrentDrugXsslgnments ' 'r
                           ;''
                             ;C ' ?                                                                                          !k'''q(r.
 Assignm ent            Descripti
                                on                                            Start
 DRG E COMP             DRUG EDUCATION COMPLETED                              04-06-2005
 DRG INO NE             NO DRUG INTERVIEW REQUIRED                            02-26-2003
 FRP Details                                                                                                                . !' ', ,.
 MostRecentPaymentPlan
 FRP Assignm ent:   NO O BLG                   FINANC RESP-NO                    Start:12-22-2014
 lnmate Decision; AGREED       $25.00                                 Frequency:QUARTERLY
 Paymentspast6 months:   $0.00                               Obligation Balance;$1,895,691.00
 Fi
  nanclalObligatlop:                                                                                  C                       E ( . .,
                                                                                                                                     t)
 No.          Type          Amount                 Balance          Payable                Status
 1            ASSMT         $600.00                $0.
                                                     00             IMMEDI
                                                                         ATE               COMPLETEDZ
                                 **NO ADJUSTMENTS MADE IN LAST6&ONTHS **
              REST NV       $1,896,341.00     $1,895,691.00    DEFERRED                    WAI
                                                                                             T PLAN
                                 **NO ADJUSTMENTS MADE IN LAST6MONTHS **
 Paym entDetails
 TrustFund Deposi
                ts-Past6months: $795.
                                    00                            Paymentscommensurate? N/A
 New PaymentPlan:          ..xo data **


 Progress since Iastreview
 Archivedasof03-06-2019                       Individuali
                                                        zedReentryPl
                                                                   an-Program Review (InmateCopy)                          Page2of4
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 MostRecentPaym entPlan
 No.              Type      Amount                 Balance                 Payable            Status
 1                ASSMT     $600.
                                00                 $0.
                                                     00                    IMMEDI
                                                                                ATE           COMPLETEDZ
                                 **NO AOJUSTMENTS MADE IN LAST6MONTHS **
                  REST NV   $1,
                              896,341.00           $1,895,
                                                         691.00            DEFERRED           WAIT PLAN
                                 **NO ADJUSTMENTS MADE IN LAST6MONTHS **

 FinancialResponsibility Summary                                                                                             ),,    t :!i.
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 Atthetimeofsentencing,inmateMimswasorderedto paya$100felonyassessmentfeewhichhasbeenmet.Hisresti
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 release.

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 Inmate Mimsmaintainsstrongfamilyties,receivingvisitsandmakingmanyphonecalls.He hasencouragedothersto maintaintiestotheir
 com munitiesaswell.Hehasbeenmakinggreatstridesin preparingforreentryintothecommunity.


 GmneralCom ments                                                                (                                      . ., , ;
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 lnmate Mimsisrequkredtoenrollinthe Release Preparationprogram whichcoverstopicsincluding,personalfinancialresponsibility,interviewing
 skills,expectations ofsupewised release,and re-entry.To date,he has notcompleted his RPP requirements.




 Sentry Data as of12-21-2019                       Sum m ary Reentry Plan -Progress Repod                                       Page 4 of5
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   k4%*                      Sum m ary Reentry Plan -Progress Report                                 SEQUENCE: 00149105
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                             Plan is eor inmate: MIMs, ANDRE 40s6s-0s4
                           Name:       MIMS,ANDRE
                    RegisterNum :      4 056 5 -054
                            Age:       56
                     Date ofBirth:     03-16-1963
                      DNA Status:      M 1A03145 /05-26-2011




                                      Inmate (MIMS,ANDRE,Regi
                                                            sterNum:40565-054)
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                                                     3(
                                      Date

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                         z        4                                              ).      z
           Chairperson                                               CaseMana f
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           Date              /oyy/ry                                             IZ 7 1 i
                                                                     Date


                                                     Sum mary Reentry Plan -Progress Repod                    Page 5 of5
Case 9:97-cr-08075-KMM Document 406 Entered on FLSD Docket 05/11/2020 Page 26 of 26




D ATE REVIEW ED :          l1-27-2019


IN STITU TION :      FC1Danbury                 UN IT:
IN M A TE N A M E:   M im s,A ndre              REG N O :           40565-054




FIRST STEP ACT (CircleOne):.             ELIGIBLE               IN ELIGIBLE


RECIDIVISM RISK LEVEL (CircleOne):                    M IN IM U M    LO W   M EDIU M   HIG H




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